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INTERVIEW WITH THE ULTIMATE WARRIOR -
PARTi1OF 4

The Ultimate Warrior ts one af the biggest stars in the history of modern wrestling. He
turned his back on the business to pursue, among other things, an intellectual calling
promoting his philosophy-Warrior Conservatism. J recently conducted a lengthy phone
interview with Warrier discussing wrestling, weightlifting, books, politics, and numerous
ather topics. This four-part interview is based on our phone conversations, and follow-up
electronic correspondence. The Ultimate Warrior approached wrestling in an intense,
passionate, and colorful manner. He comes across as no less itense, passionate, and
colorful in this interview, Enjoy,

FLYNN | : You went from packing sports arenas through your physicality as a wrestler, to
packing lecture halls with your mind, How, when, and why did this transition come about?

WARRIOR |: Well, afew things: Some, a natural part of growing up, maturing; some

aving the unique life experiences I had had up till my mid-gos, my goals and my
accomplishments. Then, later getting involved as a Conservative activist had alot to dowith
relationships I began to have with others through some entrepreneurial projects that I
operated very hands-on.

Thaveto.go back and give a little background to get to the pivotal moments, T guess, I got into
wrestling when I was like 25, 26—till then I'd always been very goal oriented in my life. When
Iwas kid, I stumbled into the shabby weight room at my high school and befriended this old
rusty weight machine and that launched me on an incredible journey of self-discipline and
self-motivation, Out of that I set an educational goal for myself to become a chiropractor. 1
tumed my hobby of working out into a successful bodybuilding career. At the tail end of my
schooling, the school being in Atlanta and it being a hotbed for pro-wrestling, my
bodybuilding success created an opportunity to get into the business of wrestling. The rest,
really, is history there, Of course, as the Ultimate Warrior character was evolving. Iwas too—
evolving as man and having unique relationships with those I worked with, especially [World
Wrestling Federation/World Wrestling Entertainment Chairman] Vince McMahon ond other
males who were essentially getting paid big money to behave a lot like kids. Vince and I had
some professional fallouts. Through the handling of those fallouts, I came to see him in an
unethical, unfaverable light, and began to question his and others’ definitions.of success and
their definitions of what they thought it was to be man, or how they thought one should think
and act like a man.

It was natural for me, when we parted ways-as we did a few times, to ses having done what I
did for the opportunity that it was, and just accept it for that, and then I set off to set new
goals, ete, Being in the business for me was always about the challenge of succeeding It, not
the fame and celebrity parts. Long story short: I came back and left and came back a couple
more times, This brings me into the mid-‘gos. And each time I split, like I said, I'd set new
foals and some of those goals were entrepreneurial and for the first time in my life, because of
the pace T had lived life at, 1 had this first real opportunity to listen to others and find out
what they thought about life—really hear about their philosophies of life, The more I paid
attention the more I realized I thought differently on many levels. Being off the road and still
having incredible energy and discipline and intensity, [ began to want to do new things. 1
began a lot of self-study, including beginning a self learning jaurney reading the Great Books
of the Western world, and the study of American history and came to see and call the
Founding people and times the absolute heroic models. This was special for me, having done
what I did as heroic role model for young minds, and never before in my life able ta point to
any one identity as a role model,

tt was also during the second term of the Clinton presidency when I began all of this. That

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books by
Dan Flynn

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DANIEL J. FLYNN

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was uniquely disgusting for me, for reasons related to my unique experiences a role model,
and even though I was not paying long-time direct attention to politics or parties, ete., I
thought, bere is the literal and figurative role model for the United States of America
behaving like a perverted little kid. I just found it all really unmanly and undignified. About
the same time I met the woman who would become my wife, She was conservative and
through her I knew I had been throughout my life, without knowing it directly, living by a
conservative philosaphy of life,

Sorta out of necessity to have a job, build another career—more for knowing, as any
conservative daes, that work is how you build self-esteem and good frame of mind—I began
building a speaking career. First using the knowledge I was acquiring from the self-learning
journey I was on, to. go and talk at schools about how power in your life comes from using
your mind, not muscle.

Who better to do that right?

As I paid more attention to current event stuff, and was deciding to begin a family, I was
appalled at what was going on in education. I mean we really are not teaching young people ta
even think, as it is classically defined. I was also really disheartened the first few times I went
out to speak on college campuses. I just thought people on college campuses would be
interested in talking and hearing about serious ideas. I went in to talk about Aristotle's ethics
and I got back this glazed over look. So I had to rethink some things about my game plan, or
maybe I should say unthink some things. And that’s when I reached out to Conservative
organizations. You, | remember reaching out to you, you were at Accuracy in Academia. You
were very helpful, thank you. Young America’s Foundation and the Leadership Institute and
some other conservative leads I got through Internet. In fact, a guy by the name of Dan Labert
at the media part of the Leadership Institute, who was a fan of my career in wrestling, really
puta good word around. He, I believe, got in the ear of YAF, Patrick Coyle over there, and out
of that I went to CPAC 2903 and since then we have been doing, again, I believe really
positive things. I was back at CPAC 2004, and spoke in the big ballroom.

You know you mentioned in your question about once packing them in the arenas, and
packing them in on college campuses now. Well, go easy, the crowds aren't es big, but they
can often be just as raucous, many of the young kids come because they were little-kid fans of
my career. Sometimes in the middle of my speech all the faces turn into ten-year olds...but
what you say is true in one sense, as I always make sure to say when 1 am out for the group
that brought me in—it is just as inspiring for me to be doing what I am now as it was to
wrestle in front of 5,10, 20,000 fans in the wrestling arenas and coliseums I once did. So,
there you have some of the how, why and when,

FLYNN | : Tell me your own personal history.

WARRIOR |: 1 grew up in Indiana, born and raised there, Did a year of college there at
Indiana State, the same year the great Larry Bird was kicking basketball butt. I'm the oldest of
five. My dad split when I was twelve, never to look back to provide any support at all—
financial or otherwise. I don't have any horror stories. [don't have any Sally Jesse Rafael-
horror stories of being raped or molested by the next-door neighbor. Did get into plenty of
innocent-enough juvenile behavior though, Even ran away from home when Iwas 13, 14 with
a lady who was 28 and had seduced me, no less. I reckon I could blame all my failures and
foibles on that if I wanted, teke the typical liberal way out, Anyway, that's a story for my book,

Really, though, I had a really great upbringing. I grew up in the country, in the rural areas,
small town of 600 people, We did a lot of fishing and a lot of hunting, a lot of boy stuff. My
mom, when I was about thirteen or fourteen, married a really decent guy. He had a really
good sense of integrity, and also was a great outdoorsman,

I'm sure, although ] was-your typical young male not paying strict attention, that] gota
decent education—they still said “The Pledge of Allegiance" and taught you unrevised
American history!—and they had no quibbles back then about disciplining you. We used to
get the paddle, and 1 can remember when my mom found out, she'd take me back to school
and tell them to paddle me again, She held great authority over me and my siblings. She
didn't take any back talk.

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And, like I said, in the last part of sophomore year, first part of my junior year, I stumbled
into that weight room and made friends with that old weight machine, My life really changed
from that point on.

FLYNN |: My understanding is that you got into professional wrestling with a small group
of guys that ineluded Sting. Could you talk about how you got into the business?

WARRIOR |: | was going to chiropractic school and competing in bodybuilding. In 1984, 1
won the Mr. Georgia competition. From that, I went to the Mr. America competition that year
in New Orleans..And there, there was a guy by the name of Ed Connors, who was one of three
guys who bought the Gold's Gym that Joe Gold founded, and the three set out and tured into
the worldwide franchise operation that itis today. Every year, back at that time, in the ‘Bos,
they would take two amateur bodybuilders they thought had potential to make it big, and
bring the two out to California and put them up while they trained at “The Meeca" for a
Junior National or National level contest. I was one of the guys in "4 or "85. I went out there
and I trained fora Junior Mr. USA contest, took fifth in my class, if] remember right.
Anyway, things didn't, in the contest, really go the way we expected them to go. The
opportunity was still there. I was like one of the biggest, by bodyweight, bodybuilders at the
time, got great reviews with [Joe] Weider and all the other top bodybuilders, just didn't hit
my mark for that show. So, I decided to get back to Atlanta and finish the small amount of
school I had left, mostly clinical requirements.

Just asI got back to Atlanta, Ed called and told me there was a guy out there in California
who's putting together a team of four guys to become pro-wrestlers, and he asked me if I'd be
interested. I didn’t follow the sport at all. Adanta, of course, was a hotbed of wrestling at the
time and I had crossed paths with a few of the guys—the Road Warriors, Paul Orndoff, Dusty
Rhodes, Tony Atlas—but I didn't know them personally. But after some minor investigation,
and the fact that I could use all the hard work I'd done in bodybuilding to capitalize off it—
make some money, come back to the chiropractic later... I decided to go for it.

FLYNN}: Did you watch wrestling asa kid?

WARRIOR |: No, I was never into it, but, ironically, my step-dad was. He used to watch it
ate at night—Dick the Bruiser and the Crusher. | remember them by catching him watching
it. My stepdad and I got along in a really good way, but I always thought he was kind of goofy
for watching it, I'd come in late on the weekends, being out with my buddies and he'd switch

the channel like he didn't mean to have it on.

FLYNN | : Like he was embarrassed?

WARRIOR): Yeah,

FLYNN |: Early on, you jumped around a bit from different federations. Where are some of
@ places you wrestled?

WARRIOR |: Well, long-story short, when I went to California I was really supposed to be
a playing out of a whole of masterplan: training, marketing, big-time access, and success.
Turned out, within a couple weeks, that the guy who had the idea didn’t have the money to
float the beginning phases and the bottom fell out. We lost our place to live, had just enough
to eat peanut butter, and do midnight snack runs at local grocery stores, eating in the aisles,
funny stuff. To top it off, as Steve [Sting] and I later found out, this guy didn't know jack
about how the business operated on the inside. Even if he'd had the money to feed us.and get
us fully trained, his big plan still would have failed.

Steve [Sting] and [ stayed positive about it all, and really our ignorance about things was a
blessing. We sent pictures out to everybody on a list of wrestling organizations we had. We
only had ten to fifteen hours of training. And that was basically just lifting each other over our
heads and dropping one another on the floor—on the basic gymnastic mats. One of those
regional territories was Mid-Southern, over in Tennessee, at the time Jerry Jarrett ran it.
They saw the pictures. We were big guys. We were impressive in that way. We were all-
American looking, And they gave usa call and told us to come on out. We just really got our

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bags and went for it with expectations that were way too high. [ swear to God, when we drove
from Galifornia to Tennessee we thought within a few months we were going to ba
millionaires, We were so pumped.

FLYNN |: What kind of money did a wrestler make back then?
WARRIOR |: We were making $25 to #50 a night.
FLYNN |: Were you rooming with Sting?

WARRIOR]: We did everything together. Laundry, gym, groceries—always together. We
ad the one car. I'd sold mine so we could eat in California. We drove to the towns together.
Sometimes 4-5 hours one way and with 4-5 guys in the ear just to cover the cost of gas. Slept

in a fleabag hotel until we got an apartment then we slept on the floor. Ate tuna fish out the
can. Had to call Ed Connors to send us some money, It was really rough, but we stayed
positive as we could. [thought alot about going back to school, but didn’t even have the
money to get back to Georgia, let alone re-enroll. And we knew there was nothing we could do
about it. It was about paying dues. One week we got a check for the whole seven days of
working for like $150-$200, Beat all to hell, bummed out and all, we ask one of the boys, Rip
Morgan, a guy from New Zealand, “How do you know when you are getting screwed
(euphemism)?" He said, “Oh, don't worry about that mate, you'll know when you are getting
screwed. The question then becomes “What can you do about it?” He was right, There was
nothing we could do about it.

FLYNN |: Both you and Sting have had huge success in professional wrestling. Neither of
you on principle has gone over to Titan [WWE/WWE].

WARRIOR): Well, [ can only speak for myself really. You are right, Sting hasn't gone over

ere, but Idon't how much that has to do with principle. I've never read that: ] know he's
done the born-again Christian thing, but I mean he's worked with NWA—whatever it is—the
Jarratt thing. Creatively, they're doing the same raunchy, risqué garbage,

About me you are right. Lhaven't gone over on principle—that it is degenerate and I'm not
doing it because of that. In addition, I have extensively articulated what my principles are, at
my site and when I go‘out and speak. That makes a huge difference as to why I'am not there
because of principle. Others haven't done that. I also fought Vince in a five-year litigation, on
principle, I stood upto his ways, the ways he screwed many, many others. While others have
never done that, yet every single person [ worked with knew and expressed how Vince had
wronged them. I mean, at WCW, [Enc] Bischoff and all the current WWF talentthat went
over, practically used the majority of their programming to deride and taunt McMahon for
how he had treated them and the other boys over the years, That sald, even if | didn't have the
history with Vince, there'd be no way I could, especially with where I am in my head today,
rationalize degenerate and perverse behavior claiming I was just an actor acting, 1 know that's
hard for some people to understand, especially today, but it's the truth. Ijust happen to
believe people should think and act like grown ups when they are,

Hypocrisy for me just doesn't work. Like, though, it does for many, including those who are
born-again Christians, like Steve [Sting].and Sean Michaels and others. Ifyou partielpate, in
my mind, you support and-condone. It’s that black and white for me. Vinee is laughingly
stabbing them with their own Devil's pitchfork,

FLYNN |: Then your road is a little different from Sting's?

WARRIOR |: You mean for me to be ableto say that I am not wrestling because of my
principles?

FLYNN |: Yes.

WARRIOR |: Definitely! It's a lot different. There's no comparison, especially if principle
means anything. Look, 1 know it's hard for others that have never gone through it to

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